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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division




ANNAKUTTY JOSEPH,

      Plaintiff,

                                      Civil Action No. l:19-cv-614


TARGET STORES, INC

      Defendant.




                             MEMORANDUM OPINION


      THIS MATTER comes before the Court on Defendant's Motion for

Summary Judgment.

      On May 21, 2016, Plaintiff Annakutty Joseph slipped on a

puddle of water in Defendant's Gainesville, Virginia store. As a

result   of   her    fall,   Plaintiff   was   injured.   In   this   matter.

Plaintiff alleges that Defendant is liable for her injuries as a

result of its negligent failure to maintain the premises in a safe

condition. The material facts of the case are straight-forward and

not genuinely disputed.

      Plaintiff's fall occurred while walking in aisle 27 of the

store at approximately 1:30 P.M. In            her   deposition, Plaintiff

admitted that she did not see the puddle before her fall and stated

that she was instead looking for a store exit at the time. It had

been raining heavily in the Gainesville area from the early morning
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